                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                        DOCKET NO. 3:14-CR-017-RJC-DCK

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )                         ORDER
                                          )
PHILLIP HARRIS, JR.,                      )
                                          )
                  Defendant.              )
__________________________________________)


       THIS MATTER IS BEFORE THE COURT on Defendant’s “Unopposed Motion To

Permit Travel On Electronic Monitoring” (Document No. 417) filed June 10, 2014. Having

carefully considered the motion and the record, and noting that the government consents to the

motion, the undersigned will grant the motion.

       IT IS THEREFORE ORDERED that Defendant’s “Unopposed Motion To Permit

Travel On Electronic Monitoring” (Document No. 417) is GRANTED. The Defendant may

travel to Club Onyx in Charlotte, North Carolina: (1) between 11:00 p.m. on Tuesday, June 10,

2014 and 3:00 a.m. on Wednesday, June 11, 2014; and (2) between 11:00 p.m. on Friday, June

13, 2014 and 3:00 a.m. on Saturday, June 14, 2014.

       SO ORDERED.



                                       Signed: June 10, 2014




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